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 1
                                                      THE HONORABLE JAMES L. ROBART
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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE
 9   UNITED STATES OF AMERICA,              )
                                            )                CR05-0155JLR
10                         Plaintiff,       )
                                            )                ORDER GRANTING
11         v.                               )                GOVERNMENT’S
                                            )                MOTION TO DISMISS
12   YUSEF ABDUL-AZIZ,                      )                WITHOUT PREJUDICE
                                            )
13                          Defendant.      )
     _______________________________________)
14

15          THIS MATTER having come before the Court on the Government’s Motion For
16   Leave To Dismiss Without Prejudice, and the Court having considered the motion,
17   together with the balance of the records and files herein, the Court now finds and rules as
18   follows:
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     ORDER GRANTING GOVT’S MOTION TO DISMISS
     WITHOUT PREJUDICE/ABDUL-AZIZ/CR05-155JLR - 1                                UNITED STATES ATTORNEY
                                                                                  700 Stewart Street, Suite 5220
                                                                                 Seattle, Washington 98101-1271
                                                                                          (206) 553-7970
            Case 2:05-cr-00155-JLR       Document 70       Filed 06/08/05    Page 2 of 2



 1          For the reasons set forth in the Government’s Motion, the Court hereby grants
 2   leave to dismiss, without prejudice, the indictment in this matter with respect to defendant
 3   Yusef Abdul-Aziz. It is therefore ORDERED that the indictment in the above-captioned
 4   matter is dismissed, without prejudice, as to Yusef Abdul-Aziz.
 5          DATED this 8th day of June, 2005.
 6

 7                                                    s/James L. Robart
                                                      ___________________________
 8                                                    United States District Court Judge
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10
     Presented by:
11
     s/ Karyn S. Johnson
12   KARYN S. JOHNSON
     Assistant United States Attorney
13   WSBA # 28857
     United States Attorney’s Office
14   700 Stewart Street, Suite 5220
     Seattle, Washington 98101
15   Telephone: (206) 553-2462
     Facsimile: (206) 553-2422
16   E-Mail: karyn.s.johnson@usdoj.gov
17   s/ Todd Greenberg
     TODD GREENBERG
18   Assistant United States Attorney
     United States Attorney’s Office
19   700 Stewart Street, Suite 5220
     Seattle, Washington 98101
20   Telephone: (206) 553-2636
     Facsimile: (206) 553-4440
21   E-Mail: todd.greenberg4@usdoj.gov
22

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     ORDER GRANTING GOVT’S MOTION TO DISMISS
     WITHOUT PREJUDICE/ABDUL-AZIZ/CR05-155JLR - 2                                UNITED STATES ATTORNEY
                                                                                  700 Stewart Street, Suite 5220
                                                                                 Seattle, Washington 98101-1271
                                                                                          (206) 553-7970
